                                                          Case 2:18-cv-01355-APG-CWH Document 31 Filed 02/13/19 Page 1 of 11



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                                                                                      UNITED STATES DISTRICT COURT
                                                      9
                                                                                              DISTRICT OF NEVADA
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                                                                                                            CLASS ACTION
                                                     11
                                                                                                            Civil Action No. 2:18-cv-01355-APG-CWH
                                                     12
            3883 Howard Hughes Parkway, Suite 1100




                                                                                                            DEFENDANTS’ JOINT MOTION FOR A
Snell & Wilmer




                                                     13   IN RE DIAMOND RESORTS                             STAY PENDING THE SUPREME
                   Las Vegas, Nev ada 89169




                                                          INTERNATIONAL, INC. SECURITIES                    COURT’S REVIEW OF A NINTH
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                                                     14   LITIGATION                                        CIRCUIT DECISION THAT IS
                              L.L.P.




                                                                                                            CENTRAL TO THE DETERMINATION
                                                     15                                                     OF THIS ACTION
                                                     16

                                                     17

                                                     18          Defendants Diamond Resorts International, Inc. (“Diamond”), David J. Berkman, Richard

                                                     19   M. Daley, Jared T. Finkelstein, Frankie Sue Del Papa, Jeffrey W. Jones, David F. Palmer, Hope

                                                     20   S. Taitz, Zachary D. Warren, and Robert Wolf (together, “Defendants”), by their undersigned

                                                     21   counsel, respectfully submit this joint motion for a stay of all proceedings in this action pending

                                                     22   review by the United States Supreme Court of a recent Ninth Circuit decision that is central to the

                                                     23   determination of key issues in this case. This motion is supported by the following Memorandum

                                                     24   of Points and Authorities, with its supporting declaration and exhibits and any oral argument the

                                                     25   ///

                                                     26   ///

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                                                     28   ///
                                                          Case 2:18-cv-01355-APG-CWH Document 31 Filed 02/13/19 Page 2 of 11



                                                      1   Court entertains on behalf of Defendants.

                                                      2          DATED this 13th day of February, 2019.

                                                      3                                               SNELL & WILMER L.L.P.
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                                                          Case 2:18-cv-01355-APG-CWH Document 31 Filed 02/13/19 Page 3 of 11



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                   Las Vegas,




                                                                             MEMORANDUM OF POINTS AND AUTHORITIES
                   Las




                                                     16

                                                     17                                            Introduction

                                                     18          This case arises from the acquisition of Diamond Resorts International, Inc. (“Diamond”

                                                     19   or the “Company”) by funds managed by Apollo Management VIII, L.P. (“Apollo”) in September

                                                     20   2016 after a lengthy sale process in which the Apollo funds emerged as the highest bidder. The

                                                     21   acquisition price was 58% higher than Diamond’s stock price before the Company announced it

                                                     22   was pursuing a sale. Plaintiffs are challenging the disclosures that Diamond made in connection

                                                     23   with the sale process and proposed transaction, asserting two claims under Section 14(e) of the

                                                     24   Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. § 78n(e), one claim under

                                                     25   Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and one “control person” claim under

                                                     26   Section 20(a) of the Exchange Act, 15 U.S.C. § 78t(a).

                                                     27          A case currently pending before the Supreme Court of the United States will have a major

                                                     28   impact on the viability of Plaintiffs’ claims. On January 4, 2019, the U.S. Supreme Court granted

                                                                                                       -3-
                                                          Case 2:18-cv-01355-APG-CWH Document 31 Filed 02/13/19 Page 4 of 11



                                                      1   a petition for certiorari challenging the Ninth Circuit’s decision in Varjabedian v. Emulex Corp.,

                                                      2   888 F.3d 399 (9th Cir. 2018), a decision that is at odds with decisions in five other circuits. 1 The

                                                      3   question presented in the petition is whether the Ninth Circuit correctly ruled that Section 14(e)
                                                      4   supplies an inferred private cause of action based on mere negligence, rather than requiring
                                                      5   scienter. The petition also raises the issue of whether a private cause of action even exists under
                                                      6   Section 14(e). The Supreme Court scheduled oral arguments in the Emulex matter for Monday,
                                                      7   April 15, 2019. 2
                                                      8           The matters raised in Emulex are critical to the outcome of this case. Indeed, if the
                                                      9   Supreme Court brings the Ninth Circuit into alignment with the other circuits that have
                                                     10   considered the issue and rules that Section 14(e) claims require scienter, or that there is no private
                                                     11   right of action under Section 14(e), this case will be doomed. Every claim in the case will then
                                                     12   require scienter. At the very least, if the Supreme Court reverses the Ninth Circuit’s decision in
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                                                     13   Emulex, the parties will have to rebrief the issues concerning Plaintiffs’ Section 14(e) claim,
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                                                     14   wasting both the Court’s and the parties’ time and resources. Diamond respectfully submits that,
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                       Vegas, Nev




                                                     15   in these circumstances, this action should be stayed pending the Supreme Court’s resolution of
                   Las Vegas,
                   Las




                                                     16   the appeal in Emulex.
                                                     17                                              Background Facts
                                                     18    This Action
                                                     19           Plaintiffs are former shareholders of Diamond, a global leader in the hospitality and
                                                     20   vacation ownership industry that is headquartered in Las Vegas. (Am. Compl. ¶¶ 37-38, 40.)
                                                     21   Plaintiffs are challenging the disclosures that Diamond made in connection with the acquisition of
                                                     22   the company by funds affiliated with Apollo in September 2016 at a price of $30.25 per share—a
                                                     23   58% premium over the price before Diamond announced it was commencing a sale process that
                                                     24   ended with the Apollo funds submitting the highest bid. (Id. ¶ 2.)
                                                     25

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                                                          1
                                                            Emulex Corp. v. Varjabedian, No. 18-459, 2019 WL 98542 (U.S. Jan. 4, 2019) available at:
                                                     27
                                                          https://www.supremecourt.gov/DocketPDF/18/18-459/66537/20181011123513447_2018-10-
                                                          11%20Emulex%20cert%20petition%20and%20appendix.pdf
                                                     28   2
                                                            Available at: https://www.supremecourt.gov/oral_arguments/calendars/MonthlyArgumentCalApril2019.html

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                                                      1             Plaintiffs filed their initial complaint in this action on July 23, 2018, and an Amended

                                                      2   Complaint on December 17, 2018. The Amended Complaint asserts four claims. Two of the four

                                                      3   claims (Counts I and II) are asserted under Section 14(e) of the Exchange Act. (Am. Compl. ¶¶

                                                      4   246-61.) Count III is a claim asserted under Section 10(b) of the Exchange Act, and Count IV is a

                                                      5   “control person” claim under Section 20(a) of the Exchange Act—a claim that is dependent upon

                                                      6   an underlying violation of one of the other claims. (Id. ¶¶ 262-78.) Plaintiffs expressly allege that

                                                      7   Count I (based on the first clause of Section 14(e)) is based solely on negligence, not scienter. (Id.

                                                      8   ¶ 251.)

                                                      9             By stipulation, Defendants have not yet responded to the Amended Complaint.

                                                     10    Emulex

                                                     11             In April 2018, the U.S. Court of Appeals for the Ninth Circuit issued a decision in

                                                     12   Varjabedian v. Emulex Corp., 888 F.3d 399 (9th Cir. 2018), a case that also asserted a claim
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                                                     13   under Section 14(e). The Ninth Circuit ruled that the first clause of Section 14(e)—which makes
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                                                     14   it unlawful for any person “to make any untrue statement of a material fact or omit to state any
                               Nevada
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                       Vegas, Nev




                                                     15   material fact necessary in order to make the statements made, in the light of the circumstances
                   Las Vegas,
                   Las




                                                     16   under which they were made, not misleading”—requires only a showing of negligence, not

                                                     17   scienter. Id. at 408.

                                                     18             The Ninth Circuit acknowledged that its ruling was contrary to the rulings of five other

                                                     19   circuit courts. Id. at 404-05.

                                                     20             The defendants in Emulex filed a petition for certiorari to the Supreme Court in October

                                                     21   2018. The “question presented” is: “Whether the Ninth Circuit correctly held, in express

                                                     22   disagreement with five other courts of appeals, that Section 14(e) of the Securities Exchange Act

                                                     23   of 1934 supports an inferred private right of action based on a negligent misstatement or omission

                                                     24   made in connection with a tender offer.” (Petition for Writ of Certiorari, Emulex Corp. v.

                                                     25   Varjabedian, No. 18-459 (U.S. Oct. 11, 2018), 2018 WL 4942046).

                                                     26             The Emulex defendants’ petition for certiorari also points out that the Supreme Court has

                                                     27   never previously recognized a private right of action at all under Section 14(e), and invites the

                                                     28   Court to examine that issue as well. (Petition for Writ of Certiorari at 20, Emulex, No. 18-459).

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                                                      1   The Supreme Court granted the petition on January 4, 2019. See Emulex Corp. v. Varjabedian,

                                                      2   No. 18-459, 2019 WL 98542, at *1 (U.S. Jan. 4, 2019). According to commentators, the Supreme

                                                      3   Court’s decision in Emulex could serve as a “vehicle for stopping the federalization of merger

                                                      4   litigation,” like this suit. 3

                                                      5                                                  ARGUMENT
                                                      6   I.      THE CASE SHOULD BE STAYED PENDING THE SUPREME COURT’S
                                                                  DECISION IN EMULEX
                                                      7

                                                      8           “[T]he power to stay proceedings is incidental to the power inherent in every court to
                                                      9   control the disposition of the causes on its docket with economy of time and effort for itself, for
                                                     10   counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936).
                                                     11           The Ninth Circuit has approved “Landis stays” pending a decision by the U.S. Supreme
                                                     12   Court in another proceeding “on several occasions.” Lockyer v. Mirant Corp., 398 F.3d 1098,
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                                                     13   1110 (9th Cir. 2005); see also Ganezer v. DirectBuy, Inc., 571 F.3d 846, 846 (9th Cir. 2009)
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                                                     14   (instructing trial court to stay proceedings pending Supreme Court’s decision in Hertz Corp. v.
                               Nevada
                              L.L.P.
                              L.L.P.


                       Vegas, Nev




                                                     15   Friend); Means v. Navajo Nation, 432 F.3d 924, 925 n.* (9th Cir. 2005) (“[w]e withdrew
                   Las Vegas,
                   Las




                                                     16   submission of this case when the Supreme Court granted certiorari in United States v. Lara”);
                                                     17   Demshki v. Monteith, 255 F.3d 986, 988 (9th Cir. 2001) (“[w]e granted the Committee’s request
                                                     18   to stay the appeal pending the Supreme Court’s decision in Board of Trustees of the University of
                                                     19   Alabama v. Garrett”); McCarthy v. Apfel, 221 F.3d 1119, 1122 n.3 (9th Cir. 2000) (“In Forney v.
                                                     20   Chater, 108 F.3d 228 (9th Cir. 1997), we held that a remand pursuant to the Social Security Act is
                                                     21   not appealable. After the Supreme Court granted certiorari in that case, the Commissioner
                                                     22   obtained a stay of proceedings of the present case pending a decision by the Supreme Court in
                                                     23   Forney.”); Polykoff v. Collins, 816 F.2d 1326, 1330 (9th Cir. 1987) (“[T]his court granted
                                                     24   appellants’ motion to stay the appeal pending the Supreme Court’s decision in Brockett v.
                                                     25   Spokane Arcades, Inc.”).
                                                     26
                                                          3
                                                           Diana Novak Jones & Rachel Graf, High Court’s Take on Emulex Could Slash Merger Challenges, Law360 (Jan. 8,
                                                     27   2019, 9:26 PM), available at: https://www.law360.com/articles/1116435/high-court-s-take-on-emulex-could-slash-
                                                          merger-challenges.
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                                                      1          This Court, too, has entered “Landis stays” pending the outcome of a Supreme Court case

                                                      2   in numerous cases, see, e.g., Deutsche Bank Nat’l Tr. Co. v. Haddad, 2017 WL 2190061, at *1

                                                      3   (D. Nev. May 17, 2017); Nationstar Mortg., LLC v. RAM LLC, 2017 WL 1752933 (D. Nev. May

                                                      4   4, 2017); LV Debt Collect, LLC v. Bank of N.Y. Mellon, No. 2:16-cv-02857-APG-NJK, at 1 (D.

                                                      5   Nev. Apr. 12, 2017), ECF No. 41; Bank of Am., N.A. v. Inspirada Cmty. Assoc., 2017 WL

                                                      6   1043281, at *5 (D. Nev. Mar. 16, 2017); Nationstar Mortg., LLC v. Springs at Spanish Trail

                                                      7   Assoc., 2017 WL 752775, at *1 (D. Nev. Feb. 27, 2017); United States v. Landeros, 2017 WL

                                                      8   10085686, at *1 (D. Nev. Jan. 4, 2017), as have other district courts in the Ninth Circuit, see, e.g.,

                                                      9   Cuadras v. MetroPCS Wireless, Inc., 2011 WL 227591, at *2 (C.D. Cal. Jan. 21, 2011); Alvarez

                                                     10   v. T-Mobile USA, Inc., 2010 WL 5092971, at *3 (E.D. Cal. Dec. 7, 2010); McArdle v. AT&T

                                                     11   Mobility LLC, 2010 WL 2867305, at *1 (N.D. Cal. July 20, 2010); Cent. Valley Chrysler-Jeep,

                                                     12   Inc. v. Witherspoon, 2007 WL 135688, at *1 (E.D. Cal. Jan. 16, 2007).
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                                                     13          When determining whether a stay is appropriate pending resolution of another case, the
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                                                     14   court must weigh: (1) “the orderly course of justice measured in terms of the simplifying or
                               Nevada
                              L.L.P.
                              L.L.P.


                       Vegas, Nev




                                                     15   complicating of issues, proof, and questions of law” that a stay will engender; (2) any “hardship
                   Las Vegas,
                   Las




                                                     16   or inequity” that a party may suffer if required to go forward, and (3) the possible damage that

                                                     17   may result from a stay. Lockyer, 398 F.3d at 1110. Here, those factors all weigh in favor of a stay.

                                                     18          A.      A Stay Will Promote the Orderly Course of Justice

                                                     19          Plaintiffs’ Section 14(e) claims are central to this case. Whether scienter is required for

                                                     20   such claims and whether there is a private right of action at all under Section 14(e) are dispositive

                                                     21   issues that the parties will need to brief and that the Court will need to consider at the outset, in

                                                     22   connection with Defendants’ forthcoming motions to dismiss.

                                                     23          Under the Private Securities Litigation Reform Act of 1995 (“PLSRA”), which is

                                                     24   applicable to this case, plaintiffs are required to plead with particularity facts giving rise to a

                                                     25   “strong inference that the defendant acted with the required state of mind.” 15 U.S.C. § 78u-

                                                     26   4(b)(2)(A). Thus, whether the Ninth Circuit correctly ruled that negligence, rather than scienter, is

                                                     27   the “required state of mind” for a Section 14(e) claim—which is the issue squarely presented to

                                                     28   the Supreme Court in Emulex—will be a key issue in determining whether Plaintiffs’ Amended

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                                                          Case 2:18-cv-01355-APG-CWH Document 31 Filed 02/13/19 Page 8 of 11



                                                      1   Complaint here is adequately pled.

                                                      2          Staying this case pending the Supreme Court’s decision will permit the parties and the

                                                      3   Court to evaluate the viability of Plaintiffs’ claims under a definitive ruling by the Supreme

                                                      4   Court, rather than briefing and considering the issue under the Ninth Circuit’s ruling in Emulex,

                                                      5   and possibly having to rebrief and reconsider the issues if the Supreme Court overturns that

                                                      6   decision. This will simplify and streamline the proceedings and “promote the efficient use of the

                                                      7   parties’ and the court’s limited resources.” Landeros, 2017 WL 10085686, at *1.

                                                      8          B.      The Parties Will Face Hardship and Inequity if the Case Proceeds

                                                      9          The parties on both sides face hardship or inequity if this Court rules on the viability of

                                                     10   Plaintiffs’ Section 14(e) claims before the Supreme Court decides the issues in Emulex. A stay

                                                     11   will prevent unnecessary briefing and premature expenditures of time, attorney’s fees, and

                                                     12   resources. See, e.g., Nationstar Mortg., 2017 WL 1752933, at *2 (“Both parties equally face
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                                                     13   hardship or inequity if the Court resolves the claims or issues before the petitions for certiorari
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                                                     14   have been decided.”).
                               Nevada
                              L.L.P.
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                       Vegas, Nev




                                                     15          C.      Any Damage from a Stay Would Be Minimal
                   Las Vegas,
                   Las




                                                     16          The only potential damage that may result from a stay is that the parties may have to wait

                                                     17   longer for resolution of this case. But Plaintiffs themselves have been in no hurry to pursue this

                                                     18   case, waiting over two years after the transaction was announced to file a complaint. Given that

                                                     19   the Supreme Court will hear oral argument in the Emulex matter on April 15, 2019, it stands to

                                                     20   reason that any damage as a result of a temporary delay will be de minimis. In addition, Plaintiffs

                                                     21   seek only money damages. Regardless, a delay would also result from any rebriefing or

                                                     22   supplemental briefing that may be necessitated if the Supreme Court overturns the Ninth Circuit’s

                                                     23   decision in Emulex. As in Nationstar Mortgage, “[i]t is not clear that a stay pending the Supreme

                                                     24   Court’s disposition of the petition[] for certiorari will ultimately lengthen the life of this case,”

                                                     25   and thus any possible damage a stay may cause is “minimal.” 2017 WL 1752933, at *2.

                                                     26   ///

                                                     27   ///

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                                                          Case 2:18-cv-01355-APG-CWH Document 31 Filed 02/13/19 Page 9 of 11



                                                      1                                          CONCLUSION

                                                      2          For the foregoing reasons, Defendants respectfully request that the Court stay all
                                                      3   proceedings in this action pending the Supreme Court’s decision on whether to overturn the Ninth
                                                      4   Circuit’s decision in Emulex.
                                                      5          DATED this 13th day of February, 2019.
                                                      6                                                   SNELL & WILMER L.L.P.
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                                                          Case 2:18-cv-01355-APG-CWH Document 31 Filed 02/13/19 Page 10 of 11



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                                                                                                 Palmer, Hope S. Taitz, Zachary D. Warren, and
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                                                                                                 Robert Wolf
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                                                      1                                     CERTIFICATE OF SERVICE

                                                      2           I, JULIA M. DIAZ, hereby certify that on February 13, 2019, I electronically filed the

                                                      3    foregoing document through the CM/ECF system, which will send notification of such filing to

                                                      4    all registered participants as identified on the Notice of Electronic Filing. Parties may access this

                                                      5    filing through the Court’s CM/ECF System.

                                                      6
                                                                  DATED this 13th day of February, 2019.
                                                      7
                                                                                                                   /s/ Julia M. Diaz
                                                      8                                                            An Employee of SNELL & WILMER L.L.P.
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